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                                     UNITED STATES DISTRICT COURT
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                            FOR THE EASTERN DISTRICT OF CALIFORNIA
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13
     UNITED STATES OF AMERICA,                        Cr. No. S-10-42
14
                        Plaintiff,                 MOTION TO EXONERATE BOND AND
15                                                 ORDER
            v.
16
     ROBERT LY
17
                        Defendant.
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19
       On January 10, 2010, Magistrate Dale A Drozd ordered Mr. Ly released on an unsecured bond
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     of $ 75,000 later to be secured by a property bond of $ 75,000 posted with this Court on March 3,
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     2010 by Jenny Kieu Ly and Mau Quan Ly. Robert Ly fulfilled all conditions of release, has been
22
     sentenced and is serving his sentence in the custody of the Bureau of Prisons.
23
        For these reasons, the Deed of Trust may be exonerated. It is therefore Mr. Ly’s request that
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     the Court order reconveyance of the Deed of Trust as set forth in the attached order.
25
     Dated December 8, 2013
26
                                                          /s/ J TONEY
27
                                                          J Toney
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                                                      1
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 1                                      ORDER

 2           The Court finds that Robert Ly satisfied all pre-trial release conditions and is now in the

 3   custody of the Bureau of Prisons. Therefore it is ORDERED that the Clerk of Court exonerate

 4   the bond and reconvey the Deed of Trust that served as the property bond in this case.

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 6   Dated: December 9, 2013
                                                     _____________________________________
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                                                     CAROLYN K. DELANEY
 8                                                   UNITED STATES MAGISTRATE JUDGE

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